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                       UNITED STATES DISTRICT COURT
                       NORTHERN DISTRICT OF ILLINOIS
                             EASTERN DIVISION



SIA HENRY, et al., individually and on behalf of all
others similarly situated,

                          Plaintiffs,
                                                       Case No.: 22-cv-00125
                           v.

BROWN UNIVERSITY, et al.,                              Hon. Matthew F. Kennelly

                           Defendants.




            GEORGETOWN UNIVERSITY’S RESPONSE
      TO MOTION TO COMPEL AND FOR SANCTIONS AGAINST
GEORGETOWN UNIVERSITY AND ITS COUNSEL AND FOR RELATED RELIEF
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                                      INTRODUCTION

       Plaintiffs’ counsel has turned what should be a routine discovery dispute into a deeply

personal and vitriolic attack on Georgetown and its counsel the tone and tenor of which are both

offensive and unnecessary. There simply is no basis to conclude that (1) Georgetown violated any

Court orders in its production of Mr. Deacons’ transcript; (2) that its counsel misled the Court

about appropriate custodians in the parties’ January 2023 Joint Status Report; or (3) that

Georgetown should be ordered to do anything more than what Georgetown already has agreed to

do as to documents relating to its                                                     The motion

should be denied in its entirety.

       First, Plaintiffs are flatly wrong that Georgetown violated this Court’s orders by producing

the transcript of Mr. Deacon’s DOJ testimony on June 22. Plaintiffs ignore that Mr. Deacon’s

transcript was created after the filing of the complaint and thus only had to be produced if

responsive to the Court’s March 8, 2023 order permitting limited post-complaint discovery. As

explained below, the transcript is not responsive to the March 8 order. Georgetown nonetheless

chose to produce it (contemporaneously with other Defendants), and did so a week in advance of

the first deposition of any Georgetown witness. Georgetown should not be penalized for going

beyond what the Court’s orders require.

       Second, there is no basis for sanctions in connection with Georgetown’s production of

information regarding its “
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                          In short, Georgetown conducted a comprehensive and reasonable search

and produced more than sufficient information for Plaintiffs to evaluate



       Moreover, in response to the concerns Plaintiffs raised at Ms. Costanzi’s deposition about

the lack of any copies of the original documents sent from



Georgetown has agreed to conduct a supplemental search for those materials (its searches have

already identified additional relevant documents and these documents will be produced promptly

after de-identification under FERPA). Georgetown has also agreed to further meet and confer in

good faith with Plaintiffs should they believe that they need any additional information from

Georgetown’s President’s or Advancement Offices on this issue. In other words, the remedial

measures Georgetown has already agreed to undertake are more than sufficient to redress

Plaintiffs’ purported grievances.

       Third, Plaintiffs’ accusation that Georgetown and its counsel knowingly misled the Court

about appropriate custodians in the January 13, 2023 Joint Status Report is specious and offensive.

None of the statements Plaintiffs identify were misleading. To the contrary, Georgetown has

followed exactly the process outlined in that Report and which the Court ordered: prioritizing

discovery from the Admissions Office, and considering, in good faith, requests for additional

discovery from either the President’s or Advancement Office where Plaintiffs believe additional

discovery is warranted.




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        Fourth, Plaintiffs’ request that the Court order Georgetown to produce records from the

President’s and Advancement Offices without redactions required by FERPA has no basis in law.

The Court has rejected similar arguments in the past, and should do the same here.

                           BACKGROUND ON PRESENT DISPUTE

        The present dispute grows out of Georgetown’s June 22 production of documents in

advance of the scheduled deposition of Melissa Costanzi on June 29. Plaintiffs’ counsel began that

deposition with a lengthy diatribe about the instant motion. See supra p. 1; Ex. 2, Costanzi Tr.

18:7-29:5. A week later, they repeated their claims in writing, stating that they would move for

sanctions unless Georgetown agreed to the following, in sum and substance:

        1. Designate the entire President’s Office as a custodian, and produce “all documents
        responsive to Plaintiffs’ Requests for Production (‘RFPs’) within 30 days, without
        redaction of donor names.”

        2. Do the same as to Georgetown’s Advancement Office.

        3. Produce all                              without redactions, not later than July 25, 2023;

        4. After Georgetown has produced all                       make Ms. Costanzi available for
        a second deposition that would not count against Plaintiffs’ total number of deposition; and

        5. Pay Plaintiffs’ attorneys fees in connection with the alleged misconduct.

Pls. Br., Ex. 6 at 8-9.1

        The parties met-and-conferred on July 10. On July 12, Georgetown responded to Plaintiffs’

demand stating that “we strongly disagree that we have made any ‘knowingly false’

representations to the Court, or otherwise did anything improper with respect to the production of

                                                                                 but that to resolve the

dispute, Georgetown would agree to do the following:



1
 In this Response, “Pls. Br., Ex. __” refers to exhibits to Plaintiffs’ Memorandum of Law In Support of
Their Motion to Compel and For Sanctions, and “Ex. __” refers to exhibits to the Declaration of Daniel T.
Fenske in support of this Response.

                                                   3
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           Conduct a supplemental search for any original
                                                                                         from the
            Admissions Office and produce them. Georgetown also agreed that it would go beyond
            the requirements of the Court’s confidentiality order and insert unique identifying
            numbers (“UIDs”) into those documents without regard to whether the document
            qualifies as a “donation record” under that order. Georgetown stated that it could not
            agree to produce the documents without redactions because those redactions may be
            statutorily required by FERPA.

           Search for and produce from the President’s Office’s files any additional copies of the
            original



           After production of the above information, Georgetown agreed to meet-and-confer
            with Plaintiffs as to any additional searches of either the President’s or Advancement
            Offices that may be appropriate follow-up to the above production.

Id. at 6-8. Georgetown reiterated that this is “exactly the process that the Defendants identified in

the January 13, 2023 Joint Status Report as to additional discovery from the President’s or

Advancement Offices, and is appropriate here.” 2 Id. at 7. Plaintiffs rejected Georgetown’s offer

and this motion followed. Id. at 1-3.

                                          LEGAL STANDARD

        “Before imposing sanctions …, a court first ‘must make a finding of bad faith, designed to

obstruct the judicial process, or a violation of a court order.’” Benefit Cosms. LLC v. Partnerships

& Unincorporated Associations Identified on Schedule “A”, 2022 WL 900194, at *5 (N.D. Ill.

Mar. 28, 2022) (quoting Fuery v. City of Chicago, 900 F.3d 450, 463–64 (7th Cir. 2018)). But

sanctions are not appropriate if a party relies upon a reasonable—even if ultimately mistaken—

interpretation of an order. See LKQ Corp. v. Gen. Motors Co., 2022 WL 14634800, at *5 (N.D.



2
  Pls. Br., Ex. 6 (quoting ECF 274 at 29-30) (“If, after Defendants’ production of admission-related
documents and data, Plaintiffs can point to follow-up discovery they need to show that an admissions
decision was influenced by the President’s or Development Office, Defendants will confer with Plaintiffs
in good faith to create targeted searches for documents from those offices that Plaintiffs believe are relevant
to a donation allegedly affecting an admissions decision.”).

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Ill. Oct. 25, 2022). As detailed below, Plaintiffs have not established any conduct warranting any

form of sanction, much less the extreme sanctions they propose. See NeuroGrafix v. Brainlab, Inc.,

2020 WL 6153269, at *2 (N.D. Ill. Oct. 11, 2020) ( “[a]ny sanction . . . must be proportionate to

the circumstances.”).

                                          ARGUMENT

  I.   Georgetown Timely Disclosed Mr. Deacon’s Transcript.

       On May 18, 2022, Georgetown’s Dean of Admissions, Charles Deacon, was deposed by

the U.S. Department of Justice and the New York Attorney General in relation to the 568

President’s Group. See Ex. 14, Deacon Tr. Georgetown produced the deposition transcript to

Plaintiffs on June 22, 2023. Fenske Decl. ¶ 12.

       Plaintiffs claim that the transcript should have been produced by either the March 3, 2023

date for substantial completion of responses to Plaintiffs’ first RFPs or, at the latest, by the May

15, 2023 deadline the Court imposed for final completion as to those RFPs. Pls. Br. 4, 6-7.

Plaintiffs are wrong.

       At a hearing on February 23, 2023, the Court ruled that the Plaintiffs were entitled to certain

limited post-complaint discovery as to admissions and financial aid policies. 2/23/2023 Hr’g Tr.

33:19-34:16. Its subsequent order (ECF 330) defined the scope of those production obligations

and set different production deadlines: Defendants were to produce post-complaint “documents

concerning Defendants’ admissions and financial aid policies and practices, for students attending

through the academic year that began in or about August 2022” by March 3, 2023, and the same

type of documents “for the students expected to be attending in the academic year that begins in

or about August 2023” by July 1, 2023. ECF 330 ¶ 3(A), (B) (emphasis added). Mr. Deacon’s

transcript, however, does not fall within the scope of the Court’s order. Indeed, Mr. Deacon made

clear in his testimony he was not describing any admissions policies or practices specific to the

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2022 or 2023 class years—the only types of documents responsive to the Court’s March 8 order.

Rather, he testified that Georgetown’s admissions policies had been consistent throughout his

decades-long tenure at the university. See Ex. 14, Deacon Tr. 233:8-14; id.at 29:10-13.3

          Notwithstanding that Georgetown (and a number of other Defendants) determined that the

DOJ transcript was not responsive to the March 8 order, in the lead-up both to Ms. Costanzi’s June

29, 2023 deposition and the July 1, 2023 discovery deadline, Georgetown again considered the

Deacon transcript and elected to produce it so that Plaintiffs had an opportunity to question

appropriate witnesses about the substance of the testimony and to avoid later discovery disputes

about whether the transcript should have been produced. Fenske Decl. ¶ 14. 4 Georgetown should

not be penalized for acting to ensure full disclosure on this issue. At the very least, Georgetown’s

determination that the transcript was not responsive to the March 8 order was reasonable, which

defeats a claim for sanctions. See LKQ Corp., 2022 WL 14634800, at *5 (“The Court will not

impose sanctions on a party due to its reasonable interpretation of a court order.”).

    II.   There Is No Basis For Sanctions As To The


          A.     Background on Georgetown’s
                 And Its Productions Regarding

          The Court previously ruled that Plaintiffs are entitled to discovery on the influence, if any,

of donations on admissions.5 Accordingly, Georgetown identified a number of document


3
 And Georgetown notes that, after the Court limited Plaintiffs to 100 document requests in total, Plaintiffs
expressly withdrew their prior requests for documents relating to government or regulatory investigations
(RFP Nos. 162 and 164). Fenske Decl. ¶ 15.
4
  Each Defendant that had an employee deposed by DOJ made its own responsiveness determination
regarding that deposition transcript and any applicable production deadline/whether to nonetheless produce
the transcript if not responsive.
5
  Plaintiffs (at 3-4) assert that the Court’s decision on Defendants’ motion to dismiss “established that the
ability of an applicant or a family member to make or pledge a donation, or the making of a donation, are
‘financial circumstances’ that Section 568 barred universities from considering in admitting applicants.”
This is not correct. The Court held that it “need not rule on this issue at this time” and assumed for purposes

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custodians in the Admissions Office, including Charles Deacon, Georgetown’s longstanding Dean

of Admissions, and his executive assistant, Valerie Youmans—the two individuals in the

Admissions Office with                                                                          See infra p.

9. In March 2023, Georgetown produced data from the Admissions Office’s Slate database that

identifies

                                                    since approximately 2017-2018, the time period

covered by its current Admissions database. Fenske Decl. ¶ 4; See Ex. 2, Costanzi Tr. 154:11-18;

291:3-292:6 (describing how to identify this information in Georgetown’s admissions data).

        Georgetown has also produced a wealth of information about the scope of

                 . On February 24, 2023, for example, Georgetown produced a formal report

describing that policy in detail:



                            and the



                                                                                              Fenske Decl.

¶ 3; Ex. 1, GTWNU_0000058201.




of the motion that “plaintiffs must plausibly allege that the defendants consider some applicants’ need for
financial aid in their admissions decisions.” ECF 185 (MTD Op.) at 6-8. Plaintiffs also assert (at 4) that it
is now “the law of the case” that if one member of the 568 Group was not need-blind, then the 568
exemption does not protect anyone. But that is not the law. Rather, “any order or other decision … that …
does not end the action … may be revised at any time before the entry of a judgment.” Fed. R. Civ. P.
54(b). Indeed, this Court has recognized that Defendants may ultimately convince it otherwise on this
precise point. See 2/3/2023 Hr’g Tr. at 42:1-2.

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Id. The balance of Georgetown’s production includes a host of internal communications relating

to                             . See, e.g., Exs. 3-6.

         Georgetown has also produced an abundance of information from the Admissions Office

on                                                                                           . This

includes information regarding




See, e.g., Exs. 7-8, 10, 13; see also Ex. 9, GTWNU_0000058219; Fenske Decl. ¶¶ 7-8.

         B.     Plaintiffs Repeatedly Mischaracterize Mr. Deacon’s Testimony As To The
                                      .

         In addition to grossly mischaracterizing Georgetown’s (and its counsel’s) discovery efforts

in this matter, Plaintiffs completely mischaracterize Mr. Deacon’s testimony in a vain effort to

manufacture some offense.

         First, Plaintiffs assert that Mr. Deacon testified that




                                                                                                Pls.

Br. 1-2. That simply isn’t accurate. While it is true that Mr. Deacon testified that

                                                                                                   ,

Ex. 14, Deacon Tr. 90:23-91:11, he also testified that




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                                              Id. at 91:6-23; Ex. 2 Costanzi Tr. at 51:1-11; 105:22-

109:11 (describing            ).

       Second, Plaintiffs are wrong when they claim that Mr. Deacon’s testimony establishes that

                                                                     Pls. Br. 6. Mr. Deacon testified

that




                       Ex. 14, Deacon Tr. 94:16-25, 96:19-25. To be sure, Mr. Deacon also

acknowledged t

               . Id. at 92:13-19 (




       C.      Plaintiffs’ Claim for Sanctions As To                           is Not Warranted.

       Sanctions are not warranted for Georgetown’s failure to produce in advance of Ms.

Costanzi’s deposition the original

            . Most importantly, information as to                                       is contained

in Georgetown’s structured data, which Georgetown has produced for the entire timeframe covered

by its current database. Fenske Decl. ¶ 4. And Georgetown nonetheless undertook reasonable steps

to identify any copies of            in the Admissions’ Office’s files. It designated both Mr. Deacon

and Ms. Youmans as custodians given their role                                              . Fenske

Decl. ¶¶ 2, 9. And as described above, Georgetown produced substantial materials as to              .

See supra p. 7-8. Further, following Plaintiffs’ identification of this issue, Georgetown has agreed

to conduct a supplemental search for any                                 in either the Admissions or

President’s Office files. It has, in fact, found some responsive documents, and will produce them

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promptly after de-identification consistent with FERPA and the Court’s Confidentiality Order, and

after inserting UIDs into those documents regardless of whether such insertion is required by that

Order. See supra p. 4. At no point did Georgetown or its counsel deliberately or knowingly hide

or elect not to produce responsive documents. Fenske Decl. ¶¶ 11.

       Plaintiffs’ proposed sanctions are unwarranted because “[a]ny sanction . . . ‘must be

proportionate to the circumstances.’” NeuroGrafix, 2020 WL 6153269, at *2. Plaintiffs’

proposal—directing that Georgetown’s entire President’s and Advancement Offices be designated

as full custodians for every one of Plaintiffs 93 RFPs; that Ms. Costanzi sit for another deposition;

and that Georgetown pay certain costs—are unrelated to the discovery issues at the center of this

dispute:                                                        Georgetown has already offered to

search for that information in the President’s Office’s files (as well as Admissions). See supra p.

4. It has further agreed to search the President’s Office’s files for any documents describing why

                                                         , and has offered to meet and confer with

the Plaintiffs about any additional information they may need to evaluate those reasons from both

the President’s and Advancement Offices to the extent Plaintiffs believe that the produced

documents are somehow not sufficient. Id. The remedy that Georgetown has already offered—and

is currently working to implement—is tailored to provide Plaintiffs exactly what they claim to

need                          . Any additional sanction is overkill and unnecessary.

       Plaintiffs’ proposed remedies, by contrast, are plainly designed to impose staggering costs

on Georgetown unconnected to any issues relating to                                    For example,

Plaintiffs request the Court to order that Georgetown designate its President and head of

Advancement as “custodians of record” for each office and for all of Plaintiffs’ 93 RFPs. See Pls.

Br. 14-15. That would require Georgetown to search all documents maintained by all employees



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in each office, regardless of whether those individuals have any responsibilities as to

                      and as to RFPs having nothing to do with that issue. Collecting, processing,

and reviewing all of their documents would impose an extreme and unnecessary burden. 6

        Nor is there any reason for an additional deposition of Ms. Costanzi. She already testified

that                                                                                , Ex. 2, Costanzi Tr.

291:3-19, so asking her about               would be pointless. Plaintiffs have professed the need to

ask Ms. Costanzi if                                                                   . Pls. Br. 8, 13. But

Georgetown will have to produce               in question in redacted form in compliance with federal

law, see infra p. 14, so that will not be possible. And Plaintiffs have obvious alternative ways to

elicit that information, such as serving an interrogatory or Rule 30(b)(6) notice requesting that

information. The Court has previously noted that these kind of alternative avenues for discovery

may be more efficient to obtain information like this. See 2/8/2023 Hr’g Tr. 43:8-22. In short, an

additional deposition would serve only to burden Ms. Costanzi for no probative benefit. 7

        D.      Georgetown And Its Counsel Did Not Mislead The Court In The January 13,
                2023 Joint Status Report

        Plaintiffs’ claim that Georgetown knowingly misled the Court about appropriate custodians

in the January 2023 Joint Status Report is demonstrably false. In that Report, Defendants

collectively argued that ordering across the board discovery from all Defendants from their

President’s or Advancement Offices was not warranted because either (1) documents in the files

of the President’s or Advancement Offices would be irrelevant if they were not communicated to


6
  All of this would be on top of the tens of thousands of documents, and millions of pages, that Georgetown
has already produced.
7
  This argument also addresses Plaintiffs’ requests for certain costs. The costs that Plaintiffs seek “at a
minimum” (Pls. Br. 15 (¶ 5)) include (1) the time spent preparing for a second deposition of Ms. Costanzi,
which Georgetown respectfully submits is not appropriate; and (2) the costs Plaintiffs incurred in bringing
this motion, which they would not have incurred if they accepted Georgetown’s reasonable offer for
additional discovery that Georgetown has described herein.

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admissions decisionmakers or (2) any such documents could be cumulative of other documents

produced from Admissions’ files showing the impact of donations on admissions. See, e.g., ECF

274 at 22 (“Defendants respectfully submit that adding custodians from the Development Office

or the President’s Office at this stage of the case is inappropriate in that it would lead to the search

for, and production of, documents that are irrelevant or cumulative and is disproportional to the

needs of the case given the custodians those Defendants are already agreeing to search.”)

(emphasis added). Defendants further argued that Plaintiffs’ proposed discovery was

disproportionate because they do not need discovery as to “every document about every applicant

whose financial circumstances may have been considered as part of the admissions process,” but

rather need only “sufficient evidence to test the 568 Exemption.” Id. at 29.

        Against this backdrop, Plaintiffs’ claim that Georgetown’s counsel knowingly

misrepresented the facts in the Joint Status Report is specious. Plaintiffs argue that Georgetown’s

counsel “misrepresented” the facts because that Report stated that




                                                                                 . ECF 274 at 21; Pls.

Br. 1-2, 10. But Defendants’ submission in the Joint Status Report presupposed that for many

Defendants there would be involvement in either their President’s or Advancement Offices in

certain aspects of admissions decisions, and the parties negotiated search terms designed to

uncover those very communications. See ECF 274 at 28 (“Defendants’ planned productions, using

search terms already negotiated by the parties, are designed to pick up communications between

either a President’s Office or Development Office and persons in Admissions asking that an

applicant be given favorable treatment by Admissions or other evidence that an admissions office



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for at least one Defendant considered an applicant’s financial circumstances while a member of

the 568 Group.”). That would make no sense if any Defendant simultaneously made a factual

representation that no personnel from either the President’s or Advancement Office had any role

in the admissions process.

       Nor did Defendants ever represent that there would be no potentially relevant documents

in either the President’s or Advancement Offices. In fact, as noted above, Defendants’ proposal

was premised on the reality that there is no need for discovery of each and every document about

the influence of donations on admissions. See ECF 274 at 29. Moreover, even if relevant

documents were only in the files of the President’s or Advancement Offices, searching for and

producing those materials would be unduly burdensome to the extent they did not add anything

material to other information produced from Admissions Office files demonstrating if and when

donations may matter in admissions. See supra p. 12 (quoting ECF 274 at 22). Finally, Defendants

made clear that their proposal for custodians was primarily about sequencing: “Instead of requiring

discovery that is disproportionate to the needs of the case at this early stage, Defendants propose

to conduct targeted searches for Development and President’s Office custodians’ documents for

information that is not captured in the schools’ other productions if facts arise that provide a

reasonable basis to believe that responsive, non-cumulative documents from the Development and

President’s Office custodians might exist and should be collected.” ECF 274 at 22. That is exactly

where the parties now find themselves: having reviewed Georgetown’s production of Admissions

Office documents, Plaintiffs have asked that Georgetown search for and produce additional

documents from its Advancement and President’s Offices. Only Plaintiffs’ “ask” came in the form

of the instant motion demanding far more than necessary to assess any relevant issue and clearly

seeking to simply impose staggering costs on Georgetown.



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III.    FERPA Requires Redactions Of Georgetown Records Referencing Students.

        Although not addressed in the text of their motion, Plaintiffs ask this Court to order

Georgetown to produce any records from either the President’s or Advancement Offices

responsive to all of Plaintiffs’ RFPs “without redaction of donor names.” Pls. Br. 14-15. Notably,

Plaintiffs do not mention the Federal Education Records Privacy Act (“FERPA”), much less try to

explain how FERPA would permit production of documents in unredacted form if those documents

are “education records” under FERPA. This is not surprising as what the Plaintiffs are essentially

asking the Court to do is order Georgetown to violate FERPA.

        There is no basis for such a request. This Court has already received extensive briefing on

the applicability of FERPA to university records and has ruled on the scope of FERPA’s reach.

Georgetown will not repeat those arguments—or the Court’s rulings 8—in their entirety here. See,

e.g., ECF 223 at 14-21; ECF 254; ECF 361 at 3-6; ECF 375.

                                         CONCLUSION

        Plaintiffs’ motion for sanctions against Georgetown and its counsel should be denied and

the parties ordered instead to follow the very process the Defendants outlined in the January 2023

Joint Status Report as to discovery from the President’s and Advancement Offices and that

Georgetown has already agreed to undertake here. See supra p. 4.




8
 Georgetown recognizes that Plaintiffs’ motion to reconsider the Court’s ruling as other Defendants’
FERPA redactions (ECF 382) remains pending.

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Dated: July 21, 2023                  Respectfully submitted,


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                                 CERTIFICATE OF SERVICE

        I, Britt M. Miller, an attorney, hereby certify that on July 21, 2023, I caused a true and
correct copy of (1) the foregoing Georgetown University’s Response to Motion to Compel and for
Sanctions Against Georgetown University and Its Counsel and for Related Relief, (2) Declaration
of Daniel T. Fenske, and (3) Exhibits to Declaration of Daniel T. Fenske to be served electronically
on all counsel of record via email.

                                              /s/ Britt M. Miller
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